    Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 1 of 10 PageID# 2



                                                                               f]
                   IN THE UNITED STATES DISTRICT COURT IjORrTHE^.

                              EASTERN DISTRICT OF VIRGINIAjjj                       I 7 2018
                                        Alexandria Division


UNITED STATES OF AMERICA



                                                     Case No. 1:18-nij-445
REBWAREBRAHIMI,
       a/k/a "Jefferey Benter,"                      UNDERSEAL
       a/k/a "Jefferey A. Benter,"
       a/k/a "Jefferey Ronnie Benter,
       a/k/a "Ronnie Omari,"
       a/k/a "Rebvar Ebrahim,"

               Defendant.


    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT


       I, Eric Ryan, being first duly sworn, state the following:

                                        BACKGROUND


       1.      I am a Special Agent with the United States Social Security Administration(SSA),

Office ofthe Inspector General(OIG). I have been employed by the SSA-OIG as a Special Agent

since February 2003. I am currently assigned to the Office ofInvestigations in Washington, D.C.,

Philadelphia Field Division. My duties as a Special Agent include investigating violations ofthe

Social Security Act,to include the misuse ofa Social Security Number(SSN),and other violations

of federal law, such as identity theft and aggravated identity theft. I have participated in the

preparation and presentation of arrest warrants and search warrants, and I am familiar with the

investigative techniques used in identity theft investigations, including the review and analysis of

a wide variety of financial records, such as bank records, personal financial records, records of

commercial transaction, business records, and identity documents.
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 2 of 10 PageID# 3
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 3 of 10 PageID# 4
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 4 of 10 PageID# 5
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 5 of 10 PageID# 6
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 6 of 10 PageID# 7
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 7 of 10 PageID# 8
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 8 of 10 PageID# 9
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 9 of 10 PageID# 10
Case 1:18-mj-00445-TCB Document 2 Filed 09/17/18 Page 10 of 10 PageID# 11
